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                           DEFENDANTS’ SUPPLEMENTAL EXHIBITS


   Exhibit 30: Excerpts from Deposition of Manuel Padilla, Jr.
   Exhibit 31: Excerpts from CBP National Standards on Transportation Escort Detention and
   Search
   Exhibit 32: Excerpts from Deposition of Ritza Mxxx Gxxxxx Exxxxx
   Exhibit 33: Excerpts from Deposition of Celina Sxxxxx-Xxxx
   Exhibit 34: Excerpts from Deposition of Franklin Cxxxxx Xxxxxxxx
   Exhibit 35: Excerpts from Deposition of Lindsay Lxxxx-Xxxxxx
   Exhibit 36: Excerpts from Deposition of Sara Sxxxx-Xxxxx
   Exhibit 37: Excerpts from Deposition of Mirna Gxxxxx-Xxxxx
   Exhibit 38: Excerpts from Deposition of Karina Vxxxx-Xxxxxx
   Exhibit 39: Excerpts from Deposition of Zulma Mxxxxxx Rxxxx Xxxxxxx
   Exhibit 40: Excerpts from Deposition of Yeslin Lxxxx-Xxxxxxx
   Exhibit 41: Second Declaration of David W. Strange with Exhibits
   Exhibit 42: Second Declaration of Juanita Hester
   Exhibit 43: Second Declaration of Joshua G. Reid
   Exhibit 44: Declaration of Homero D. Salinas
   Exhibit 45: Declaration of Philip T. Miller
   Exhibit 46: Declaration of Peter Jaquez
   Exhibit 47: Chart Re: Locations of Plaintiffs’ Declarants/Deponents
   Exhibit 48: Map of Border Patrol Stations
   Exhibit 49: Declaration of Matthew J. Hudak
   Exhibit 50: Declaration of Hector A. Mancha, Jr.
